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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   Case No. 1:07-cr-155-02
v.
                                                   HONORABLE PAUL L. MALONEY
TIMOTHY POPE

                  Defendant.
_________________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Timothy Pope has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to

cocaine base (crack cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made

retroactive effective November 1, 2011. U.S.S.G. § 1B1.10(c).

       However, the defendant is not eligible for a sentence modification. He was sentenced as

a career offender under U.S.S.G. § 4B1.1 and the amendments are of no assistance to him. The

applicable guideline range has not been lowered as a result of the amendment to the Sentencing

Guidelines. United States v. Baxter, No. 11-15664, 2012 WL 1192173 (11th Cir., Apr. 9, 2012);
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see United States v. Bridgewater, 606 F.3d 258, 260-01 (6th Cir. 2010); United States v.

Washington, 584 F.3d 693, 700-01, (6th Cir. 2009). Accordingly,

       IT IS HEREBY ORDERED that Defendant Timothy Pope’s motion for appointment of

counsel and for modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 125) is

DENIED.




Date: July 10, 2012                          /s/ Paul L. Maloney
                                            Paul L. Maloney
                                            Chief United States District Judge
